                 IN THE UNITED STATES DISTRICT COURT FOR THE
                     MIDDLE DISTRICT OF NORTH CAROLINA


 United States of America,
                                                     No. 12-cv-1349
                         Plaintiff;
         v.                                          NOTICE OF INTENT TO FILE
                                                     DISPOSITIVE MOTION
 Terry Johnson, in his official capacity as
 Alamance County Sheriff,
                         Defendant.




                     NOTICE OF INTENT TO FILE DISPOSITIVE MOTION

      The United States, pursuant to Local Rule 56.1(a), hereby gives notice of intent to

file a dispositive motion in the above-named case.

      This 4th day of February, 2014.



                                              Respectfully submitted,


                                              JONATHAN M. SMITH
                                              Chief, Special Litigation Section

                                              TIMOTHY D. MYGATT
                                              Special Counsel
                                              Special Litigation Section
                                              Civil Rights Division

                                              /s/ Michael J. Songer
                                              MICHAEL J. SONGER
                                              DC Bar Number: 975029
                                              AARON FLEISHER
                                              Attorneys




      Case 1:12-cv-01349-TDS-JLW Document 80 Filed 02/04/14 Page 1 of 3
                                United States Department of Justice
                                Civil Rights Division
                                Special Litigation Section
                                950 Pennsylvania Avenue, N.W.
                                Washington, DC 20530
                                Tel: (202) 514-6255
                                Fax: (202) 514-4883
                                michael.songer@usodj.gov




Case 1:12-cv-01349-TDS-JLW Document 80 Filed 02/04/14 Page 2 of 3
                                 CERTIFICATE OF SERVICE


        I certify that the foregoing Notice of Intent to File a Dispositive Motion was served through
the electronic filing service on February 4, 2014 to the following individual:

S.C. Kitchen
Turrentine Law Firm
920-B Paverstone Dr
Raleigh, NC 27615
ckitchen@turrentinelaw.com


Attorney for Defendant Sheriff Johnson



                                                      s/ Michael J. Songer
                                                      MICHAEL J. SONGER
                                                      Attorney for the United States




       Case 1:12-cv-01349-TDS-JLW Document 80 Filed 02/04/14 Page 3 of 3
